
159 U.S. 103 (1895)
CENTRAL LAND COMPANY
v.
LAIDLEY.
No. 289.
Supreme Court of United States.
Argued March 29, April 1, 1895.
Decided June 3, 1895.
ERROR TO THE SUPREME COURT OF APPEALS OF THE STATE OF WEST VIRGINIA.
*107 Mr. F.B. Enslow and Mr. J.H. Ferguson, (with whom was Mr. H.C. Sims on the brief,) for plaintiff in error.
Mr. W.E. Chilton and Mr. J.F. Brown, (with whom was Mr. John E. Kenna on the brief,) for defendant in error.
*109 Mr. John B. Laidley in person also filed a brief in support of the motion to dismiss.
*108 MR. JUSTICE GRAY, after stating the case, delivered the opinion of the court.
The questions upon the merits of this case, discussed at length by counsel, were whether the Supreme Court of Appeals of West Virginia rightly construed the provision of the Code of that State of 1868, which was, and was admitted to be, in all material respects, a reënactment of the corresponding provision of the Code of Virginia of 1860, prescribing the form of acknowledgment by a married woman of a deed of real estate; and whether the court below gave a construction of that provision less favorable to the validity of such a deed, than had been given to it by its own earlier decisions, and by the highest court of Virginia before the creation of the State of West Virginia. Those questions are not free from difficulty; and this court, before undertaking to pass upon them, must be satisfied that it has jurisdiction to do so.
The grounds relied on for invoking the appellate jurisdiction of this court are, in substance, that by the decision of the Supreme Court of Appeals of West Virginia, without any legislative action, the obligation of the contract contained in the deed from Mr. and Mrs. Pennybacker to Huntington, the grantor of the plaintiff in error, has been impaired, and the plaintiff in error has been deprived of its property without due process of law.
Assuming, without deciding, that these grounds were sufficiently and seasonably taken in the courts of West Virginia, we are of opinion that they present no Federal question.
In order to come within the provision of the Constitution of the United States, which declares that no State shall pass any law impairing the obligation of contracts, not only must the obligation of a contract have been impaired, but it must have been impaired by some act of the legislative power of the State, and not by a decision of its judicial department only.
The appellate jurisdiction of this court, upon writ of error *110 to a state court, on the ground that the obligation of a contract has been impaired, can be invoked only when an act of the legislature alleged to be repugnant to the Constitution of the United States has been decided by the state court to be valid, and not when an act admitted to be valid has been misconstrued by the court. The statute of West Virginia is admitted to have been valid, whether it did or did not apply to the deed in question; and it necessarily follows that the question submitted to and decided by the state court was one of construction only, and not of validity. If this court were to assume jurisdiction of this case, the question submitted for its decision would be, not whether the statute was repugnant to the Constitution of the United States, but whether the highest court of the State has erred in its construction of the statute. As was said by this court, speaking by Mr. Justice Grier, in such a case, as long ago as 1847, "It is the peculiar province and privilege of the state courts to construe their own statutes; and it is no part of the functions of this court to review their decisions, or assume jurisdiction over them on the pretence that their judgments have impaired the obligation of contracts. The power delegated to us is for the restraint of unconstitutional legislation by the States, and not for the correction of alleged errors committed by their judiciary." Commercial Bank v. Buckingham, 5 How. 317, 343; Lawler v. Walker, 14 How. 149, 154.
It was said by Mr. Justice Miller, in delivering a later judgment of this court: "We are not authorized by the Judiciary Act to review the judgments of the state courts because their judgments refuse to give effect to valid contracts, or because those judgments, in their effect, impair the obligation of contracts. If we did, every case decided in a state court could be brought here, where the party setting up a contract alleged that the court had taken a different view of its obligation to that which he held." Knox v. Exchange Bank, 12 Wall. 379, 383.
The same doctrine was stated by Mr. Justice Harlan, speaking for this court, as follows: "The state court may erroneously determine questions arising under a contract which constitutes *111 the basis of the suit before it; it may hold a contract void which, in our opinion, is valid; it may adjudge a contract to be valid which, in our opinion, is void; or its interpretation of the contract may, in our opinion, be radically wrong; but, in neither of such cases, would the judgment be reviewable by this court under the clause of the Constitution protecting the obligation of contracts against impairment by state legislation, and under the existing statutes defining and regulating its jurisdiction, unless that judgment, in terms or by its necessary operation, gives effect to some provision of the state constitution, or some legislative enactment of the State, which is claimed by the unsuccessful party to impair the obligation of the particular contract in question." Lehigh Water Co. v. Easton, 121 U.S. 388, 392.
Many other decisions of this court to the same effect are cited in that case. See also New Orleans Waterworks v. Louisiana Sugar Co., 125 U.S. 18, 30; St. Paul &amp;c. Railway v. Todd County, 142 U.S. 282; Brown v. Smart, 145 U.S. 452; Wood v. Brady, 150 U.S. 18.
The decisions cited by the plaintiff in error to support the jurisdiction of this court in the case at bar were either cases in which the writ of error was upon a judgment of a state court, which gave effect to a statute alleged to impair the obligation of a contract made before any such statute existed, as in Louisiana v. Pilsbury, 105 U.S. 278; in Chicago Ins. Co. v. Needles, 113 U.S. 574, and in Mobile &amp; Ohio Railroad v. Tennessee, 153 U.S. 486; or else the writ of error was to a Circuit Court of the United States, bringing to this court the whole case, including the question how far the courts of the United States should follow the decisions of the highest court of the State, as in Gelpcke v. Dubuque, 1 Wall. 175, 205; Olcott v. Supervisors, 16 Wall. 678, 690; Douglass v. Pike County, 101 U.S. 677, 686; Anderson v. Santa Anna, 116 U.S. 356, 361; and other cases cited in Louisiana v. Pilsbury, 105 U.S. 278, 295.
The distinction, as to the authority of this court, between writs of error to a court of the United States and writs of error to the highest court of a State, is well illustrated by two *112 of the earliest cases relating to municipal bonds, in both of which the opinion was delivered by Mr. Justice Swayne, and in each of which the question presented was whether the constitution of the State of Iowa permitted the legislature to authorize municipal corporations to issue bonds in aid of the construction of a railroad. The Supreme Court of the State, by decisions made before the bonds in question were issued, had held that it did; but, by decisions made after they had been issued, held that it did not. A judgment of the District Court of the United States for the District of Iowa, following the later decisions of the state court, was reviewed on the merits, and reversed by this court, for misconstruction of the constitution of Iowa. Gelpcke v. Dubuque, 1 Wall. 175, 206. But a writ of error to review one of those decisions of the Supreme Court of Iowa was dismissed for want of jurisdiction, because, admitting the constitution of the State to be a law of the State, within the meaning of the provision of the Constitution of the United States forbidding a State to pass any law impairing the obligation of contracts, the only question was of its construction by the state court. Railroad Co. v. McClure, 10 Wall. 511, 515.
When the parties have been fully heard in the regular course of judicial proceedings, an erroneous decision of a state court does not deprive the unsuccessful party of his property without due process of law, within the Fourteenth Amendment of the Constitution of the United States. Walker v. Sauvinet, 92 U.S. 90; Head v. Amoskeag Co., 113 U.S. 9, 26; Morley v. Lake Shore Railroad, 146 U.S. 162, 171; Bergmann v. Backer, 157 U.S. 655.
This court therefore has no authority to decide the main questions, argued at the bar, whether the decision of the Supreme Court of Appeals of West Virginia, in effect, and erroneously, overruled the prior decisions of that court, and of the Supreme Court of Appeals of Virginia before West Virginia became a separate State; and the writ of error must be
Dismissed for want of jurisdiction.
MR. JUSTICE FIELD dissented.
